Case 20-11526-amc         Doc 19    Filed 07/10/20 Entered 07/10/20 14:47:03           Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         Jerry L Lawson
                                                         Bankruptcy No. 20-11526-AMC

                               Debtor

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.      Your Movant is Scott F. Waterman, Esq. the duly qualified and acting Chapter 13 Trustee
in the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 03/11/2020.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   There has been unreasonable delay as defined by 11 U.S.C Section 1307(c)(1) by the
             above-captioned Debtor(s).

        WHEREFORE, Scott F. Waterman, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 07/10/2020                                  Respectfully submitted,

                                                 /s/ Polly A. Langdon, Esq.
                                                 Polly A. Langdon, Esq.
                                                 for
                                                 Scott F. Waterman, Esq.
                                                 Standing Chapter 13 Trusteee
                                                 2901 St. Lawrence Avenue, Suite 100
                                                 Reading, PA 19606
                                                 Telephone: (610) 779-1313
